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Fill in this information to identify your case:
                                                                                                                            Check if this is an
Debtor 1        Wanda Calverley Ferguson
                                                                                                                         amended plan, and list
                                                                                                                         below the sections of the
Debtor 2
                                                                                                                         plan that have been
(Spouse, if filing)
                                                                                                                         changed
                                                                                                                         2.1, 2.4, 2.5; 3.1, 3.3; 4.2;
United States Bankruptcy Court for the Western District of
                                                                                                                         5.1; 8.1.
Virginia

Case number 21-50597

Official Form 113


Chapter 13 Plan                                                                                                                                 12/17

Part 1:     Notices

                      This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
To Debtor(s):
                      indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that
                      do not comply with local rules and judicial rulings may not be confirmable.

                      In the following notice to creditors, you must check each box that applies.

To Creditor(s):       Your rights are affected by this plan. Your claim may be reduced, modified, or eliminated.
                      If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an
                      objection to confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered
                      by the Bankruptcy Court. The Bankruptcy Court may confirm this plan without further notice if no objection to
                      confirmation is filed. See Bankruptcy Rule 3015. In addition, you may need to file a timely proof of claim in order to be
                      paid under any plan.

                      The following matters may be of particular importance. Debtors must check one box on each line to state whether or
                      not the plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked,
                      the provision will be ineffective if set out later in the plan.




 1.1       A limit on the amount of a secured claim, set out in Section 3.2, which may result in
                                                                                                                 Included           Not included
           partial payment or no payment to the secured creditor.



 1.2       Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,
                                                                                                                 Included           Not included
           set out in Section 3.4.


 1.3       Nonstandard provisions, set out in Part 8.                                                            Included           Not included




Part 2:     Plan Payments and Length of Plan

2.1     Debtor(s) will make payments to the trustee as follows :
       $943.00 per Month for 49 months
       [and $___ per ___ for ___ months.] Insert additional lines if needed.
       If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the
       payments to creditors specified in this plan.
2.2     Regular payments to the trustee will be made from future income in the following manner:
       Check all that apply.
         Debtor(s) will make payments pursuant to a payroll deduction order.
          Debtor(s) will make payments directly to the trustee.
          Other (specify method of payment): TFS .
2.3     Income tax refunds.
Check one
       Debtor(s) will retain any income tax refunds received during the plan term.
          Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
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       return and will turn over to the trustee all income tax refunds received during the plan term.
          Debtor(s) will treat income tax refunds as follows:
       _______________________
2.4     Additional payments.
Check one:
       None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.
          Debtor(s) will make additional payment(s) to the trustee specified below. Describe the source, estimated amount, and date of
       each payment.
       $9,901.50 paid to date.
2.5     The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is         $56,108.50.


Part 3: Treatment of Secured Claims


3.1     Maintenance of payments and cure of default, if any.
       Check One.
      None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
    The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes
required by the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either by the
trustee or directly by the debtor(s), as specified below. Any existing arrearage on a listed claim will be paid in full through disbursements
by the trustee, with interest, if any, at the rate stated. Unless otherwise ordered by the court, the amounts listed on a proof of claim filed
before the filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts listed below as to the current installment
payment and arrearage. In the absence of a contrary timely filed proof of claim, the amounts stated below are controlling. If relief from
the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless otherwise ordered by the court, all
payments under this paragraph as to that collateral will cease, and all secured claims based on that collateral will no longer be treated
by the plan. The final column includes only payments disbursed by the trustee rather than by the debtor(s).
                            Current installment                                 Interest rate on         Monthly plan      Estimated total
Name of                                                Amount of arrearage
                 Collateral payment (including                                  arrearage (if            payment on        payments by
creditor                                               (if any)
                            escrow)                                             applicable)              arrearage         trustee
                                                        $32,275.75
Community                   $815.04
                 508 Lee                                (includes $2795.78
Loan                           Trustee                                          0.00%                    $658.69           $32,275.75
                 Highway                                post-petition
Servicing                      Debtor
                                                        arrears)

3.2 Request for valuation of security, payment of fully secured claims, and modification of under secured claims. Check one.


      None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.


3.3     Secured claims excluded from 11 U.S.C. § 506.
       Check One.
      None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
      The claims listed below were either:


(1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle acquired for
the personal use of the debtor(s), or


(2) incurred within 1 year before the petition date and secured by a purchase money security interest in any other thing of value.


These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by the
trustee or directly by the debtor(s), as specified below. Unless otherwise ordered by the court, the claim amount stated on a proof of
claim filed before the filing deadline under Bankruptcy Rule 3002(c) controls over any contrary amount listed below. In the absence of a
contrary timely filed proof of claim, the amounts stated below are controlling. The final column includes only payments disbursed by the
trustee rather than by the debtor(s).


                                                    Amount of        Interest     Monthly plan              Estimated total payments by
Name of Creditor             Collateral
                                                    claim            rate         payment                   trustee
                                                                                  $287.50
Commonwealth One             2017 Jeep                                            Disbursed by:
                                                    $12,107.56       4.00%                                  $14,087.53
FCU                          Renegade                                                Trustee
                                                                                     Debtor(s)

3.4     Lien avoidance.
       Check One.
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       None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.


3.5      Surrender of Collateral.
        Check One.

       None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.




Part 4:     Treatment of Fees and Priority Claims


4.1       General
        Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid
        in full without postpetition interest.
4.2       Trustee’s fees
        Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be         10% of plan
        payments; and during the plan term, they are estimated to total $5611.00.
4.3      Attorney's Fees
The balance of the fees owed to the attorney for the debtor(s) is estimated to be $1,500.00.
4.4      Priority claims other than attorney's fees and those treated in § 4.5.
        Check one.

       None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.


4.5      Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.
        Check one.
          None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.
        [o] The allowed priority claims listed below are based on a domestic support obligation that has been assigned to or is owed to a
        governmental unit and will be paid less than the full amount of the claim under 11 U.S.C. § 1322(a)(4). This plan provision requires
        that payments in § 2.1 be for a term of 60 months; see 11 U.S.C. § 1322(a)(4).​
Name of Creditor                                Estimated amount of Claim to be paid

                                                $



Part 5: Treatment of Nonpriority Unsecured Claims


 5. 1     Nonpriority unsecured claims not separately classified.
Allowed nonpriority unsecured claims that are not separately classified will be paid pro rata. If more than one option is checked, the
option providing the largest payment will be effective. Check all that apply.
           The sum of $2,626.99.
           11.00% of the total amount of these claims, an estimated payment of $2,626.99.
           The funds remaining after disbursements have been made to all other creditors provided for in this plan.
        If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid
        approximately $2,508.00. Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be
        made in at least this amount.
5.2      Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.


       None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.


5. 3     Separately classified nonpriority unsecured claims. Check one.
       None. If “None” is checked, the rest of § 5.4 need not be completed or reproduced.
[0] Nonpriority unsecured claims listed below are separately classified and treated as follows:


Part 6: Executory Contracts and Unexpired Leases


6.1      The executory contracts and unexpired leases listed below are assumed and treated as specified. All other executory contracts
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and unexpired leases are rejected. Check one.


    None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.




Part 7:    Vesting of Property of the Estate


 7.1 Property of the estate will vest in the debtor(s) upon discharge or closing of the case, whichever occurs earlier, unless an
alternative vesting date is selected below. Check the applicable box to select an alternative vesting date:
          plan confirmation.
          other: ____________________________


Part 8: Nonstandard Plan Provisions


8.1 Check “None” or List Nonstandard Plan Provisions
     [0] None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.
Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise
included in the Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.
Attorney’s Fees. Attorneys Fees noted in Paragraph 4 shall be approved on the confirmation date unless previously objected
to. Said allowed fees shall be paid by the Trustee prior to the commencement of payments required to be made by the Trustee
under Paragraphs 3, 4, 5, and 6 herein, except that attorneys fees shall be paid pro rata with any distribution to domestic
support order claimants under paragraph 4.4.

The $1,975.00 in Debtor(s)’ attorney’s fees to be paid by the Chapter 13 Trustee are broken down as follows:
(i)      $1,500.00: Fees to be approved, or already approved, by the Court at initial plan confirmation;
(ii)     $ _________: Additional pre-confirmation or post-confirmation fees already approved by the Court by separate order or
in a previously conåfirmed modified plan;
(iii)    $ 475.00: Additional post-confirmation fees being sought in this modified plan, which fees will be approved when this
plan is confirmed.
Secured Deficiencies. Any unsecured proof of claim for a deficiency which results from the surrender and liquidation of the
collateral noted in paragraph 3.5 of this plan must be filed by the earlier of the following dates or such claim will be forever
barred: (1) within 180 days of the date of the first confirmation order confirming a plan which provides for the surrender of said
collateral, or (2) within the time period set for the filing of an unsecured deficiency claim as established by any order granting
relief from the automatic say with respect to said collateral. Said unsecured proof of claim for a deficiency must include
appropriate documentation establishing that the collateral surrendered has been liquidated, and the proceeds applied, in
accordance with applicable state law.

Treatment of Claims. All creditors must timely file a proof of claim to receive payment from the Trustee. If a claim is
scheduled as unsecured and the creditor files a claim alleging the claim is secured but does not timely object to confirmation of
the plan, the creditor may be treated as unsecured for purposes of distribution under the plan. This paragraph does not limit the
right of the creditor to enforce its lien, to the extent not avoided or provided for in this case, after the debtor(s) receive a
discharge. If a claim is listed in the plan as secured and the creditor files a proof of claim alleging the claim is unsecured, the
creditor will be treated as unsecured for purposes of distribution under the plan. The Trustee may adjust the monthly
disbursement as needed to pay an allowed secured claim in full.

Adequate Protection Payments. The Trustee shall make adequate protection payments required by 11 U.S.C. § 1326(a) or
otherwise upon claims secured by personal property, until the commencement of payments provided for in sections 3.2 and/or
3.3 of the Plan, in amounts of at least 1% of the fair market value of the secured personal property.

These plan provisions will be effective only if the applicable box in § 1.3 is checked.
________________________

Part 9:     Signatures


9.1 Signatures of Debtor(s) and Debtor(s)’ Attorney

If the Debtor(s) do not have an attorney, the Debtor(s) must sign below; otherwise the Debtor(s) signatures are optional. The attorney
for the Debtor(s), if any, must sign below.
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not required
Signature of Debtor 1                     Signature of Debtor 2

Executed on: 11/25/2022                   Executed on: 11/25/2022



/s/ William Harville
                                          Executed on: 11/25/2022
Signaure of Attorney for Debtor(s)                                  By filing this document, the Debtor(s), if not represented by an
                                                                    attorney, or the Attorney for Debtor(s) also certify(ies ) that the
Signature(s) of Debtor(s)                                           wording and order of the provisions in this Chapter 13 plan are
identical to those contained in Official Form 113, other than any nonstandard provisions included in Part 8.


Exhibit: Total Amount of Estimated Trustee Payments


The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the amounts
set out below and the actual plan terms, the plan terms control.

a. Maintenance and cure payments on secured claims (Part 3, Section 3.1 total )                                                    $32,275.75

b. Modified secured claims (Part 3, Section 3.2 total )                                                                            $0.00

c. Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total )                                                       $14,087.53

d. Judicial liens or security interests partially avoided (Part 3, Section 3.4 total )                                             $0.00

e. Fees and priority claims (Part 4 total )                                                                                        $6,889.49

f. Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount )                                                      $2,626.99

g. Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total )                                                  $0.00

h. Separately classified unsecured claims (Part 5, Section 5.3 total )                                                             $0.00

i. Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total)                                        $0.00

j. Nonstandard payments (Part 8, total)                                                                                            $0.00

  Total of lines a through j                                                                                                       $55,879.77
